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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

 

JEFFERY JACOB-DANIEL KLINGHAGEN,

Plaintiffs,

VS.

DENNIS KAEMINGK, SOUTH DAKOTA
SECRETARY OF CORRECTIONS; IN HIS
INDIVIDUAL AND OFFICIAL CAPACITY;
ROBERT DOOLEY, WARDEN AT MDSP
AND THE DIRECTOR OF PRISON
OPERATIONS FOR THE SOUTH DAKOTA
DOC; IN HIS INDIVIDUAL AND OFFIClAL
CAPACITY; JOSHUA KLIMEK, UNIT
MANAGER AT MDSP; IN HIS INDIVIDUAL
AND OFFIClAL CAPACITY; TAMMY
DEJONG, UNIT COORDINATOR AT MDSP;
IN HER INDIVIDUAL AND OFFICIAL
CAPACITY; SUSAN JACOBS, ASSGCIATE
WARDEN AT MDSP; IN HER INDIVIDUAL
AND OFFICIAL CAPACITY; REBECCA
SCHIEFFER, ASSOCIATE WARDEN AND
THE ADMINISTRATIVE REMEDY
COORDINATOR AT MDSP; IN HER
INDIVlDUAL AND OFFICIAL CAPACITY;
JENNIFER STANWICK, DEPUTY WARDEN
AT MDSP; IN HER INDIVIDUAL AND
OFFICIAL CAPACITY; MICHAEL. DOYLE,
CORRECTIONAL OFFICER, WITH THE
RANK MAJOR, AT MDSP; IN HIS
INDIVIDUAL AND OFFICIAL CAPACITY;
JEREMY LARSON, CORRECTIONAL
OFFICER, WITH THE RANK SERGEANT,
AND THE DISCIPLINARY HEARING
OFFICER AT MDSP; IN HIS INDIVIDUAL
AND OFFICIAL CAPAC!TY; COREY TYLER,
CORRECTIONAL OFFICER, WITH THE
RANK SERGEANT, AT MDSP; IN HIS

 

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ORDER REQUIRING RESPONSE TO
MOTION TO DISMISS

 

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INDIVIDUAL AND OFFICIAL CAPACITY;
MICHAEL MEYER, CORRECTIONAL
OFFICER AT MDSP; IN HIS INDIVIDUAL
AND OFFICIAL CAPACITY; KELLY
TJEERDSMA, CORRECTIONAL OFFICER,
WITH THE RANK CORPORAL, AT MDSP; IN
THEIR INDIVIDUAL AND OFFICIAL
CAPACITY; LORI DROTZMAN, GENERAL
EDUCATION DIPLOMA TEACHER, WHO
ALSO IS IN CHARGE OF _ THE LAW
LIBRARY AT MDSP; IN HER INDIVIDUAL
AND OFFICLAL CAPACITY; MICHAEL JOE
HANVEY, PHYSICIANS ASSISTANT AND
HEALTH CARE PROVIDER AT MDSP; IN
HIS INDIVIDUAL AND OFFICIAL
CAPACITY; ANDRA GATES,' NURSING
SUPERVISOR AND HEALTH CARE
PROVIDER AT MDSP; IN HER INDIVIDUAL
AND OFFICIAL CAPACITY; KELLY
SWANSON, HEALTH SERVICES
SUPERVISOR AT MDSP; IN THEIR
INDIVIDUAL AND OFFICIAL CAPACITY;
STEPHANIE HAMILTON, NURSE AT MDSP;
IN HER INDIVIDUAL AND OFFICIAL
CAPACITY; MARY CARPENTER,
EMPLOYEE OF THE SOUTH DAKOTA
DEPARTMENT OF HEALTH AND ASSISTS
WITH INMATE HEALTH CARE DECISIONS
FOR INMATES INCARCERATED AT MDSP;
IN HER INDIVIDUAL AND OFFICIAL
CAPACITY; BARRY SCHROETER,
SUPERVISOR FOR CBM CORRECTIONAL
FOOD SERVICES AT MDSP; IN HIS
INDIVIDUAL AND OFFICIAL CAPACITY;
JENNIFER BENBOON, DIETITIAN
EMPLOYED BY CBM CORRECTIONAL
FOOD SERVICES; IN HER INDIVIDUAL
AND OFFICIAL CAPACITY; CBM
CORRECTIONAL FOOD SERVICES,
PRIVATE FOR PROFIT COMPANY
CONTRACTED BY THE SOUTH DAKOTA
DOC TO PROVIDE MEALS TO INMATES
INCARCERATED AT MDSP; DELMAR
SONNY WAL'I`ERS, ATTORNEY AT LAW
CONTRACTED BY THE SOUTH DAKOTA
DOC TO PROVIDE LEGAL SERVICES TO

 

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INMATES INCARCERATED AT MDSP; IN
HIS INDIVIDUAL AND OFFICIAL
CAPACITY; UNKNOWN DEPARTMENT OF
CORRECTIONS EMPLOYEES,
CORRECTIONAL OFFICERS EMPLOYED
BY THE SOUTH DAKOTA DOC WHO WORK
AT MDSP; UNKNOWN DEPARTMENT OF
7 CORRECTIONS HEALTH SERVICES STAFF,
HEALTH SERVICES DEPARTMENT STAFF
EMPLOYED BY THE SOUTH DAKOTA DOC
TO PROVIDE HEALTH CARE FOR INMATES
INCARCERATED AT MDSP; AND
UNKNOWN CBM CORRECTIONAL FOOD
SERVICES EMPLOYEES, EMPLOYEES OF
CBM CORRECTIONAL FOOD SERVICES AT
MDSP;

Defendants.

 

 

Plaintiff Jeffery Jacob-Daniel Klinghagen (Klinghagen) is the lone remaining Plaintiff in
this case, which began with thirteen Plaintiffs. Doc. 1. Klinghagen’s Verified Amended
Complaint contains claims under 42 U.S.C. § 1983 and the Americans with Disabilities Act that
conditions of confinement at the Mike Durfee State Prison (MDSP) violate his rights. Doc. 180.
Particularly, Klinghagen alleges that the Defendants at MDSP are deliberately indifferent to his
serious medical needs, namely proper treatment of his diabetes.

Klinghagen has made repeated requests for appointment of counsel, Docs. 91, 110, 188,
which Magistrate Judge Veronica L. Duffy has denied through several orders. Docs. 116, 189.
Klinghagen filed an appeal of those rulings addressed to the undersigned judge, Doc. 194, and this
Court affirmed. Doc. 197.

This Court explained that the case is not factually or legally complex, and that Klinghagen
has stated a claim that the MDSP Defendants have been deliberately indifferent to his serious

medical needs as a diabetic, that he entered prison with an insulin pump prescribed by a private

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physician, that MDSP officials removed the pump, and that he now suffers increased seizures.
Both Magistrate Judge Duffy and this Court have explained the law to Klinghagen as follows:

The law regarding plaintiff’s Eight Amendment claim is well-settled, and requires

that plaintiff to “prove that he suffered from one or more objectively serious

medical needs, and that prison officials actually knew of but deliberately

disregarded those needs.” Roberson v. Bradshaw, 198 F.3d 645, 647 (8th Cir.

1999). A serious medical need is “one that has been diagnosed by a physician as

requiring treatment, or one that is so obvious that even a layperson would easily

recognize the necessity for a doctor’s attention.” Camberos v. Branstad, 73 F.3d

174, 176 (8th Cir. 1995) (quotation marks and citations omitted). The law further

provides that “[d]eliberate indifference may be demonstrated by prison guards who

intentionally interfere with prescribed treatment, or by prison doctors who fail to
respond to prisoner’s serious medical needs. Mere negligence or medical
malpractice, however, are insufficient to rise to a constitutional violation.” Dulany

v. Carnahan, 132 F.3d 1234, 1239 (8th Cir. 1997) (citing Estelle v. Gamble, 429

U.S. 97, 104-06 (1976)).

Doc. 116 at 5; Doc. 197 at 4. Magistrate Judge Duffy previously has ordered that Defendants
provide Klinghagen copies of his medical records for a several-year period. Doc. 116 at 6~7.

On February 22, 2018, the Defendants filed a Motion to Dismiss, Doc. 198, arguing that
Klinghagen’s Amended Complaint fails to state a claim upon which relief can be granted. A text
order advised Klinghagen of his deadline of March 19, 2018, to respond to the motion to dismiss.
Doc. 199.

On March 22, 2018, the Clerk of Court filed a one-page letter postmarked March 21 from
Klinghagen where Klinghagen reiterated his desire for legal counsel and expressed an inability to
proceed without help. Doc. 200. Magistrate Judge Duffy wrote back to Klinghagen on March 23,
2018, declining to give Klinghagen legal advice, but recounting the fact that the Court had
provided an outline of the applicable law and some of the Federal Rules of Civil Procedure, and
letting Klinghagen know how he could access this Court’s Civil Local Rules. Doc. 201. Because

some of Klinhagen’s letter could have been read as indicating a loss of a desire to proceed, Judge

Duffy wrote: “If you no longer wish to pursue your case, you may make a motion to voluntarily

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dismiss it.” Doc. 201. Klinghagen has filed nothing further and has not resisted Defendants’
Motion to Dismiss. For good cause, it is hereby

ORDERED that Klinghagen is given until July 24, 2018, to respond to the Motion to
Dismiss, and if he does not so respond, the Court will deem the motion unopposed and grant

dismissal without prejudice to refiling a separate case,

DATED this 9th day of July, 2018,

BY THE COURT:

ROBERTO A. LAN§

UNITED STATES DISTRICT JUDGE

 

